_ Case 1:19-cr-00351-CCB Document 13 Filed 01/22/20 Page 1 of 3

FILED
U.S. DISTRICT COURT
IN'‘SHE UNITED STATES DISTRICT COURT
FOR THE.DISTRIGZ OF MARYLAND

 

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United States of America CLERK'S OFFICE *
AT BALDIMORE
v. . * Criminal Case No. CCB 19-CR-00351
BY fh DEPUT*
CHERYL DIANE GLENN . *
Rk,

REGULAR SENTENCING ORDER

(1) On or before 3/2/2020 (not more than 40 days from the date of this order), the Probation
Officer shall provide the initial draft of the presentence report to counsel for the Defendant for
review with the Defendant. If the Defendant is in pretrial detention, defense counsel! may not
provide a copy of the recommendations section of the presentence report to the Defendant in
advance of meeting to review the presentence report, and may not leave the recommendations
section of the presentence report with the Defendant once the review has taken place. The
Probation Officer shall also provide the initial draft of the presentence report to counsel] for the
Government.

(2) | On or before 3/16/2020 (not fess than 14 days from date in paragraph 1), counsel shall
submit, in writing, to the Probation Officer and opposing counsel, any objections to any material
information, sentencing classifications, advisory sentencing guideline ranges, or policy
statements contained in or omitted from the report.

(3) After receiving counsel’s objections, the Probation Officer shall conduct any
necessary further investigation and may require counsel for both parties to meet with the
Probation Officer to discuss unresolved factual and legal issues. The Probation Officer shall

make any revisions to the presentence report deemed proper, and, in the event that any objections

Sentencing Guidelines Order - Regular (Rev. 12/2019)
Case 1:19-cr-00351-CCB Document 13 Filed 01/22/20 Page 2 of 3

made by counsel remain unresolved, the Probation Officer shall prepare an addendum setting
forth those objections and any comment thereon. ~

(4) On or before 3/27/2020 (not tess than 11 days from date in paragraph 2), the Probation
Officer shall file the report (and any revisions and addendum thereto) through CM/ECF.

(5) If counsel for either party intends to call any witnesses at the sentencing hearing,
counse] shall submit, in writing, to the Court and opposing counsel, on or before

uf -b vf 2° _ (not less than 14 days hefore sentencing), a statement containing (a) the

names of the witnesses, (b) a synopsis of their anticipated testimony, and (c} an estimate of the
anticipated length of the hearing.

(6) Sentencing memoranda are not required unless a party intends to request a
sentence outside the advisory guidelines range on the basis of a non-guideline factor. If

submitted, they shall be filed with the Clerk and a copy delivered to chambers on or before

 

uf. - uf 20 (not less than 14 days before sentencing). Opposing or responding

memoranda are not required. If submitted, they shall be delivered to chambers on or before

 

x, ( 1 ad O mot less than 7 days before sentencing). Copies of all memoranda must
be sent to the Probation Officer. Sentencing memoranda are not sealed documents. If the
memoranda or attachments contain sensitive material, they should be filed under seal and
accompanied by a motion to seal.

(7) If the Government intends to seek restitution, a memorandum requesting

restitution and all supporting documentation shall be filed on or before

 

o 2 4 | Zo (not less than 14 days before sentencing). Failure to provide the restitution
information or an explanation for why the restitution information is not yet ascertainable by this

date may result in an order to show cause why the information could not have been timely

Sentencing Guidelines Order - Regular (Rev. 12/2019)
Case 1:19-cr-00351-CCB Document 13 Filed 01/22/20 Page 3 of 3

provided and may result in the Court denying or delaying restitution until after a hearing not to
exceed 90 days after sentencing.

(8) Sentencing shall be on Hay z Xd QO at _ 7 2 d Ge HEN

(9) The presentence report, any revisions, and any proposed findings made by the

 

Probation Officer in the addendum to the report shall constitute the tentative findings of the
. Court under section 6A1.3 of the sentencing euidelines. ‘In resolving disputed issues of fact, the
Court may consider any reliable information presented by the Probation Officer, the Defendant,
or the Government, and the Court may issue its own tentative or final findings at any time before
or during the sentencing hearing.

(10) Nothing in this Order requires the disclosure of any portions of the presentence

report that are not disclosable under Federal Rules of Criminal Procedure 32.

é
January 22, 2020 . Leeks

Date Catherine C. Blake
United States District Judge

Sentencing Guidelines Order - Regular (Rev. 12/2019}
